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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                             ENTERED
                             UNITED STATES DISTRICT COURT                                October 06, 2022
                              SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


DAVID MCGREGOR, et al.,                            §
                                                   §
         Plaintiffs,                               §
                                                   §
VS.                                                §   CIVIL ACTION NO. 4:22-CV-01782
                                                   §
FAY SERVICING, LLC, et al.,                        §
                                                   §
         Defendants.                               §

          ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE
                     HELD ON October 6, 2022 at 9:00 AM

        Appearances:           Waived


        The following schedule shall govern the disposition of this case:


        Initial Disclosures due by:                           October 21, 2022
        New parties/class allegations by:                     None
        Plaintiff’s experts to be designated by:              February 10, 2023
        Report furnished by:                                  February 10, 2023
        Defendant’s experts to be designated by:              March 1, 2023
        Report furnished by:                                  March 1, 2023
        Discovery to be completed by:                         June 30, 2023
        Dispositive motions due by:                           July 20, 2023
        Docket call to be held at 11:30 AM on:                October 2, 2023
        Estimated trial time: 2-3 days                        Jury Trial


The following rulings were made:

   •    Discovery may be extended by agreement of the parties without Court intervention. The
        dispositive motion deadline and docket call dates, however, may not be extended without
        leave of Court.

   •    Attorney’s fee applications are handled on the papers of the parties after notice.

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  •    Expedited responses are required on all pretrial motions save dispositive motions.

       It is so ORDERED.

       SIGNED on October 6, 2022, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




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